           Case 1:18-cv-00444-RP Document 204 Filed 09/08/20 Page 1 of 8




                      UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

MWK RECRUITING, INC.

               Plaintiff,
                                              Civil Action No. 1:18-cv-00444
      v.

EVAN P. JOWERS, YULIYA
VINOKUROVA, ALEJANDRO
VARGAS, and LEGIS VENTURES
(HK) COMPANY LIMITED (aka
Jowers / Vargas),

               Defendants.


EVAN P. JOWERS

               Counterclaimant,

      v.

MWK RECRUITING, INC., ROBERT
E. KINNEY, MICHELLE W. KINNEY,
RECRUITING PARTNERS GP, INC.,
KINNEY RECRUITING LLC,
COUNSEL UNLIMITED LLC, and
KINNEY RECRUITING LIMITED

               Counter-defendants.


    MWK’S RESPONSE TO JOWERS’S SECOND MOTION TO COMPEL

      Jowers’s motion is, again, meritless. MWK has not waived any objections, has

produced 180,870 pages in response to Jowers’s requests, has produced a privilege

log, and is diligently obtaining further discovery from third parties and

supplementing as it is received. This is a further effort to waste time and money at




RESPONSE TO JOWERS’S SECOND MOTION TO COMPEL                                Page 1
          Case 1:18-cv-00444-RP Document 204 Filed 09/08/20 Page 2 of 8




MWK’s expense, an unfortunate trend that began in this case when Robert Tauler

(“Tauler”) entered the case pro hac vice in May 2020.

   1. Timely Objections – No Waiver

         MWK has timely responded to all Jowers’s discovery requests. Where

objections were warranted, MWK timely objected within 30 days of the requests.

MWK stands on its objections to Jowers’s requests; any claim they were waived is

ridiculous. See Exhibits 1, 2, and 3. With regard to RFP’s 148 and 149, MWK did

not object and all responsive documents have been produced; however, MWK will be

receiving documents from third parties and will supplement its responses with

those.

   2. The MWK Entities Produced Documents Pursuant to Search Terms

         Agreed with Prior Counsel for Jowers

         MWK agreed with prior counsel for Jowers, DLA Piper, regarding search

terms for responsive documents. MWK and related entities span multiple

companies and the relevant parties have had many email accounts over 15 years.

So, search term agreements were needed and were agreed. See Exhibit 4, at 10-12.

All known responsive documents based on the search terms have been produced to

Jowers. Thus, Tauler’s protests about MWK counsel’s use of the term “unaware” are

just noise; having used search terms, it is always possible some otherwise

responsive documents were missed.




RESPONSE TO JOWERS’S SECOND MOTION TO COMPEL                              Page 2
        Case 1:18-cv-00444-RP Document 204 Filed 09/08/20 Page 3 of 8




   3. MWK has Produced a Privilege Log

      Tauler devotes pages to complaining about lack of a privilege log, but MWK

produced a privilege log as promised on September 4, 2020. This issue is moot.

   4. Rolling Productions

      Tauler complains about the fact that MWK has promised a rolling

production. The MWK Entities have produced everything in their possession that

they know to be responsive, but Jowers still has not produced many relevant

documents requested by the MWK Entities. Because the MWK Entities expect to

continue receiving responsive documents from third parties, and from Jowers, MWK

will continue to make rolling productions.

   5. Jowers Raises Only Two Specific Objections

      The Motion identifies and seeks an order to compel a response related to 69

separate requests for production: RFP Nos. 2-12, 19, 21-39, 41, 44-45, 47-48, 50-61,

65, 72, 74, 76, 86, 94-95, 100, 103-106, 111, 119, 129, 135-136, and 148-150. Of

these, Jowers mentions only two with enough specificity for MWK to respond: RFP

Nos. 65 and 127. Although Jowers has not briefed any reasons other than his

narrow technical ones why MWK should be compelled to respond to those RFP’s,

and therefore has waived the opportunity to do so, the MWK Entities will address

each of them in turn because they exemplify what Jowers is doing in driving up the

burden in this case by seeking irrelevant, non-probative material.




RESPONSE TO JOWERS’S SECOND MOTION TO COMPEL                                Page 3
         Case 1:18-cv-00444-RP Document 204 Filed 09/08/20 Page 4 of 8




       A.     RFP 65 – Other Employees’ Agreements

       RFP 65 seeks, “All documents or communications from May 2006 to present

between you and any employee of the Kinney Entities concerning or relating to non-

solicitation agreements, non- competition agreements, and/or any other restrictive

covenant contained in agreements with such employee’s former employer.” MWK

has already produced all the documents it possesses related to trade secrets

misappropriated by Jowers. This RFP seeks documents back to 2006, ten years

before Jowers left. Any trade secret possessed by MWK in 2006 and not

misappropriated is not relevant to this case, nor is any non-solicitation agreement

with another employee. There simply is no authority for the relevance of such

material.

       B.     RFP 129 – Documents Related to a Lawsuit from 2007

       Similarly, with RFP 129, Jowers seeks “All Documents Concerning Your

lawsuit against Morgan Warren.” Morgan Warren was an employee who left the

employment of Kinney Recruiting in January 2007. Any trade secrets she might

have then could not possibly be relevant to this case. Neither could any agreement

she had with MWK’s predecessor entity be relevant to Jowers’s agreement. His

employment overlapped with that of Ms. Warren for a scant few months ten years

before he left.

   6. The Issues in this Case Began After DLA Piper Withdrew

       Tauler, a Los Angeles-based attorney not admitted in Texas, entered this

case in May 2020 on a motion for admission pro hac vice. Dkt. 166. Pursuant to that



RESPONSE TO JOWERS’S SECOND MOTION TO COMPEL                               Page 4
        Case 1:18-cv-00444-RP Document 204 Filed 09/08/20 Page 5 of 8




motion, Tauler represented that he would have co-counsel “who is admitted to

practice before the United States District Court for the Western District of Texas.”

Id., at ¶8. Shortly after his admission pro hac vice was granted, DLA Piper

withdrew from the case, leaving Tauler with no co-counsel admitted in the Western

District. Dkt. 175. It appears this may have been an end-run around the

requirements for pro hac vice admission. As of 8 p.m. on September 8, 2020, the

Court’s website shows no application for Tauler to be fully admitted has been filed.

      A. Efforts to Waste Time

      Tauler’s efforts to waste time and create needless headaches in this case are

clear from a look at the current docket sheet. Since he entered the case, Tauler has

filed four discovery motions (Dkt. 180, Dkt. 181, Dkt. 184, Dkt. 199), three of which

seek sanctions, and all of which lack merit. Less clear to the Court but clear to

counsel who work in the Western District of Texas regularly, Tauler has been

regularly using methods that violate the local rules and practices in both letter and

spirit. For example, with every meet and confer letter he sends, Tauler attempts to

have each of the three counsel of record for MWK get on a phone call with him to

discuss his vaguely described issues. On those calls, Tauler has, literally, raised his

voice at opposing counsel to the point where the volume could only be called

screaming. Tauler has dialed from unknown numbers to ambush counsel at their

desks and deliberately files motions and opposes extensions to try to hamstring

opposing counsel. Dkt. 201; Dkt. 203. The level of harassment is not common. MWK




RESPONSE TO JOWERS’S SECOND MOTION TO COMPEL                                   Page 5
        Case 1:18-cv-00444-RP Document 204 Filed 09/08/20 Page 6 of 8




will be seeking a protective order with regard to further harassing requests

irrelevant documents and information.

      B. Tauler’s     Methods   are     Not   Designed   to   Obtain    Relevant

         Information

      If Tauler’s methods were designed to obtain relevant information, some of

them might be excusable. As is evident from this Motion, though, and from his

overdesignation of documents as AEO (Dkt. 180; Dkt. 181), his efforts have been

about wasting time.

      C. Prior Problems with Tauler

      It not clear whether Tauler would be eligible for full admission to the

Western District of Texas. Tauler has been previously sanctioned $2,500 by a

federal judge under Federal Rule of Civil Procedure 11 for a “failure to conduct a

reasonable and competent inquiry” before filing, and associated assertions of

“demonstrably false representations and arguments.” Certified Nutraceuticals, Inc.

v. Avicenna Nutraceutical, LLC, No. 3:16-CV-02810-BEN-BGS, 2018 WL 4385368,

at *7 (S.D. Cal. Sept. 14, 2018). Exhibit 5. A second federal judge warned him to

“be mindful of Rule 11 standards” in a different case. JST Distribution, LLC v.

CNV.com, Inc., No. 17-CV-6264-PSG-MRWX, 2018 WL 6113092, at *8 (C.D. Cal.

Mar. 7, 2018). Exhibit 6. The federal judge overseeing another case, when

dismissing Tauler’s firm’s frivolous RICO counterclaim against a former bookkeeper

with prejudice, said that he “tends to agree that ‘by appearances’ the RICO claim




RESPONSE TO JOWERS’S SECOND MOTION TO COMPEL                              Page 6
        Case 1:18-cv-00444-RP Document 204 Filed 09/08/20 Page 7 of 8




was added for an ‘improper purpose.’” Tauler Smith, LLP v. Valerio, No. 20-CV-

00458 AB (ASX), 2020 WL 1921789, at *5 (C.D. Cal. Mar. 6, 2020). Exhibit7.

   7. Request

      Jowers’s latest motion is meritless because the documents he seeks to compel

production of either have already been produced, they are being produced as

received, or they are not relevant to the claims and defenses in this case. Moreover,

the presence of counsel in this case who is not generally admitted in the Western

District of Texas and is intent on disregarding the rules and practices of the district

foretell additional difficulty with the case unless Jowers obtains counsel admitted to

practice in the district, preferably local counsel. MWK requests that the Court 1)

deny Jowers’s Motion to Compel; 2) issue an order pursuant to Local Rule AT-2

that, within 21 days, Jowers hire local counsel admitted in the Western District of

Texas; and 3) further order that, within 10 days of new counsel for Jowers entering

the case, such counsel and counsel for MWK meet and confer regarding discovery

issues and the progress of further discovery in the case.




RESPONSE TO JOWERS’S SECOND MOTION TO COMPEL                                   Page 7
       Case 1:18-cv-00444-RP Document 204 Filed 09/08/20 Page 8 of 8




Dated: September 8, 2020                Respectfully Submitted,

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RESPONSE TO JOWERS’S SECOND MOTION TO COMPEL                              Page 8
